                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 2:11-00002
                                                     )       Judge Trauger
[31] WILLIAM JEROME BURNS                            )
                                                     )

                                            ORDER

       The Joint Motion to Continue Sentencing Hearing (Docket No. 964) is GRANTED. It is

hereby ORDERED that this sentencing is RESET for Thursday, September 27, 2012, at 9:00

a.m. The court will set aside the entire day for this sentencing hearing.

       It is so ORDERED.

       ENTER this 20th day of June 2012.




                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




 Case 2:11-cr-00002        Document 965        Filed 06/20/12      Page 1 of 1 PageID #: 2207
